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                         UNITED STATES DISTRICT COURT
                     IN THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

 JOEY DEARDUFF, NICHOLAS
 BAILEY, MELVIN BROWNES,
 TIMOTHY BROWNELL, TIMOTHY
 FLESSNER, JAMES GUNNELS,
 LEON MEANS, JOHN PORTER,
 ANTHONY RICHARDSON, CAROL
 ROMAN, BRYAN SLONE and TINA
 STOLL, on behalf of themselves and all
 other similarly situated,

       Plaintiffs,

 vs.                                               Case No. 14-11691-LJM-MKM
                                                   Hon. Laurie J. Michelson
 HEDI WASHINGTON, Director,                        Maj. Judge Mona Majzoub
 Michigan Department of Corrections,
 and JONG CHOI, Dental Regional
 Director, they are sue in their official
 capacities,

      Defendants.
 __________________________________/

             FOURTH AMENDED CLASS ACTION COMPLAINT
              FOR DECLARATORY AND INJUNCTIVE RELIEF

                               PARTIES AND FACTS

       1.     Plaintiff JOEY DEARDUFF, 732738 (hereafter Dearduff) is/was at

 all times relevant a prisoner confined with the Michigan Department of Corrections

 (hereafter MDOC) who sought dental care that was denied or delayed in violation

 of the Eighth Amendment. In December 2013, Dearduff requested dental



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 treatment including partial dentures (“partials”) due to the pain that he was

 suffering, but was denied partials and other treatment deemed to be routine because

 he failed to meet the policy of being confined at least 24-months. In June 2015

 when his 24-months wait was completed, Dearduff requested a dental examination

 so he could receive partial dentures due to the pain he suffered. He was informed

 that he was “placed on a list.” Dearduff has continued to suffer pain and is unable

 to masticate food, eat hard foods or chew due to the loss of teeth extracted by

 agents of the Defendant and their refusal to provide partials and timely routine

 treatment.

       2.     Plaintiff NICHOLAS BAILEY, 970872 (hereafter Bailey) is/was at

 all times relevant a prisoner confined with the MDOC who sought dental care that

 was denied or delayed in violation of the Eighth Amendment.1 Upon his

 imprisonment in October 2016, Bailey wrote dental that he needed dentures

 because he had no teeth and could not eat properly. He was denied dentures

 because he had not been confined for 24-months.

       3.     Plaintiff TIMOTHY BROWNELL, 656313 (hereafter Brownell),

 is/was at all times relevant a prisoner confined with the MDOC who sought dental

 care that was denied or delayed in violation of the Eighth Amendment. Starting in


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   Bailey had filed in the Western District of Michigan. This case was transferred to
 the Eastern District of Michigan and I believed was to be consolidated with this
 matter. It has not yet been consolidated.

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 January 2017, Brownell brought to the attention of the dental that he had a bad

 toothache and he had not received a cleaning for approximately 16 or 17 months.

 He was placed on the routine wait list and was informed that he would be called

 out when it was his turn. Over the next 6 to 7 months, Brownell submitted almost

 weekly kites informing dental that he was in pain, part of a tooth filling broke off,

 and more of that filling broke off. He saw the dentist in May 2017 and was

 informed that his condition had deteriorated such that he now needed root canal,

 but the MDOC does not provide such. Brownell was told that the only thing that

 could be done was extraction of the tooth.

       4.     Plaintiff MELVIN BROWNES, 172387 (hereafter Brownes), is/was

 at all times relevant a prisoner confined with the MDOC who sought dental care

 that was denied or delayed in violation of the Eighth Amendment. In March 2016,

 Brownes begin his incarceration with MDOC. Once he arrived at the first prison,

 he sought a routine dental exam, so he could receive a treatment plan and

 appropriate treatment. He was informed he could not receive routine dental care,

 including cleaning, until he had been imprisoned for 24-months. At the intake

 dental examination, Brownes was diagnosed with moderate periodontal disease

 (“perio”) and heavy calculus and he was denied appropriate treatment because he

 had not been imprisoned for at least 24-months. This failure to treat allowed his

 periodontal disease to become worst and created other dental issues.



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       5.     Plaintiff TIMOTHY FLESSNER, 703698 (hereafter Flessner),

 is/was at all times relevant a prisoner confined with the MDOC who sought dental

 care that was denied or delayed in violation of the Eighth Amendment. In August

 2016, Flessner was confined with MDOC and requested dental care. He sought the

 repair of two teeth by dental staff. It was determined that one tooth was

 salvageable but due to Flessner not having completed the 24-months

 imprisonment, no work could be done on that salvageable tooth. As a result of the

 19-month delay in providing dental care, tooth #29 deteriorated such that it was not

 salvageable. Further, on April 14, 2017, Flessner was informed that when his 24-

 months were up in two months he could kite to have the tooth repaired. If he kited

 in two-months, Flessner would then have been placed on a waiting list for cleaning

 and then another waiting list for the actual dental care needed. The grievance

 responder told Flessner that an outside dentist could repair these teeth if he could

 pay for that care.

       6.     Plaintiff JAMES GUNNELS, 186011 (hereafter Gunnels), is/was at

 all times relevant a prisoner confined with the MDOC who sought dental care that

 was denied or delayed in violation of the Eighth Amendment. In October 2016,

 Gunnels entered the prison system and he sought dentures because he had no

 teeth. He was denied any dental services as to his request for dentures because he

 had not yet been imprisoned for 24-months. Gunnels informed dental staff that he



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 was in great pain and suffering, which resulted from his inability to masticate food.

 He was told to kite back on or after October 22, 2018.

       7.     Plaintiff LEON MEANS, 131310 (hereafter Means), is/was at all

 times relevant a prisoner confined with the MDOC who sought dental care that was

 denied or delayed in violation of the Eighth Amendment. In July 2015, Means

 arrived at the MDOC edentulous and promptly requested care because he was in

 pain and his gums were torn from trauma resulting from chewing. He was told that

 he had to complete 24-months of imprisonment, and he could then submit a kite for

 dental care. While at Saginaw Prison in 2015, he again requested dentures and a

 mechanical soft diet but was again told to wait to complete 24-months

 imprisonment to received these services.

       8.     Plaintiff JOHN PORTER, 154033 (hereafter Porter), is/was at all

 times relevant a prisoner confined with the MDOC who sought dental care that was

 denied or delayed in violation of the Eighth Amendment. In May 2017, prison staff

 broke Porter’s upper and lower dentures. Porter sought to have these replaced but

 dental refused to replace based on the dental policy that dentures can only be

 replaced every five years and he had received those dentures in November 2014.

 After he received the dentures and up to them being broken by prison staff, Porter

 had four additional teeth removed, which would have prevented the broken

 dentures from being repaired due to poor occlusion. The dentist stated that the



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 dentures were denied not because Porter’s partial edentulism did not constitute a

 serious medical need but because of dental policy that limited new dentures to

 every five years.

       9.     Plaintiff KENNETH REEVES, 717138 (hereafter Reeves), is/was at

 all times relevant a prisoner confined with the MDOC who sought dental care that

 was denied or delayed in violation of the Eighth Amendment. In January 2017,

 Reeves was incarcerated. At the intake examination it was determined that he had

 early periodontal disease and treatment of this disease will not be provided until

 after a dental cleaning. Reeves sought a dental cleaning but was told that he can

 kite in January 2019 for such care after he had completed the 24-months

 imprisonment.

       10.    Plaintiff   ANTHONY        RICHARDSON,          235980     (hereafter

 Richardson), is/was at all times relevant a prisoner confined with the MDOC who

 sought dental care that was denied or delayed in violation of the Eighth

 Amendment. In February 2014, Richardson was diagnosed with moderate

 periodontal disease. He sought treatment but none was provided. In February 2016,

 Richardson asked for treatment for pain in his teeth and requested periodontal

 treatment but was denied. On or about June 9, 2016, Richardson requested

 treatment for pain in his upper teeth. The Step-two grievance response states that

 Richardson “request ‘treatment for periodontal disease (and) cavity filling – no



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 extraction.’” This grievance response goes on to state the only treatment offered

 Richardson by the dentist was extraction. The dentist stated, “grievant has been

 diagnosed with periodontitis of the affect teeth (molars #1 & 2). Extraction of the

 teeth has been recommendation by the dentist.” Richardson suffered pain in his

 teeth and gums and in the area of his molars and abscesses in his gums. When

 engaged in flossing, Richardson’s gums would bleed. Over time, if periodontal

 disease is not treated, the bone that supports the teeth may deteriorate and the

 prisoner is subjected to further dental issues. Defendant has a policy and/or

 practice of not providing care to those with periodontal diseases. Based on the

 nature of periodontal disease, it is common knowledge among dentists that

 periodontal disease should be treated timely or it may progress and cause other

 dental issues.

       11.        Plaintiff CARL ROMAN, 250050 (hereafter Roman), is/was at all

 times relevant a prisoner confined with the MDOC who sought dental care that was

 denied or delayed in violation of the Eighth Amendment. In January 2017, Roman

 was incarcerated with the MDOC. Dental staff determined that he had early

 moderate periodontal disease. Roman sought dental care, including a cleaning to

 deal with the diagnosis of early periodontal disease. Due to his not being

 imprisoned for at least 24-months at the time of his request, MDOC refused to

 provide any dental care deemed to be routine. Roman was told to kite after



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 1/19/2019 to receive dental care. Due to Roman not being imprisoned for 24-

 months when he sought a dental cleaning, no exam was provided to him by the

 dentist, no treatment plan was treated, and he wan not provided treatment for his

 early periodontal disease.

       12.    Plaintiff BRYAN SLONE, 296250 (hereafter Slone) is/was at all time

 relevant a prisoner confined with the MDOC who sought dental care that was

 denied or delayed in violation of the Eighth Amendment. In February 2014, Slone

 sought dental care for a broken tooth that was painful but was denied permanent

 restoration due to the 24-months imprisonment wait policy. Due to Defendants’

 policy, the repair of a fractured tooth is considered routine care, and thus, Slone

 had to suffer and endure tooth pain for at least the 24-months wait, or agree to

 extraction of the restorable fractured tooth. Such a policy subjects prisoners to the

 risk of preventable pain as well as tooth morbidity and tooth mortality. On the

 other hand, prisoners who refuse the extraction must endure tooth pain until they

 emerge from quarantine – waiting for as much as 24-months. During the 24-

 months wait, a restorable tooth may become unrestorable.

       13.    Plaintiff TINA STOLL, 875525 (hereafter Stoll) is/was at all time

 relevant a prisoner confined with the MDOC who sought dental care that was

 denied or delayed in violation of the Eighth Amendment. During her first 24-

 months of confinement, Stoll had at least 20 teeth extracted but was denied



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 dentures because she had not been imprisoned for at least 24-months. The initial

 Intake Exam was inadequate because it did not produce a treatment plan or dental

 probing. Even though Stoll had requested a teeth-cleaning exam and was placed on

 a waiting list on August 22, 2013, Stoll did not receive the cleaning for more than

 2 ½ years later on February 29, 2016. Stoll informed dental staff that while eating

 food her gums would bleed; she would swallow food whole and experience

 vomiting and other digestive problems every time she ate. She was subjected to

 unreasonable delay in the production of dentures that caused pain and other

 discomforts. She was also subjected to an untimely treatment plan, which resulted

 in Stoll being subjected to a cycle of episodic care, i.e., frequent toothaches; and

 the dental staff did not offer her a mechanical soft diet.

       14.    Defendant HEIDI WASHINGTON (hereafter Washington) is the

 Director of the Michigan Department of Correction and is sued in her official

 capacity. At all times relevant hereto, she has acted under color of state law. She is

 responsible for the operation of the State of Michigan prisons and directs its

 policies and procedures pertaining to the providing of dental care. Presently she

 has one Regional Dental Administrators who is responsible for enforcing her

 written and verbal policies and practices.

       15.    Defendant JONG CHOI is the Chief Dental Officer for MDOC and

 is sued in his official capacity. At all times relevant hereto, he has acted under



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  color of state law. Also, at all times mentioned in this complaint, Defendant Choi

  was an agent of Defendant Washington and was acting within the course and scope

  of this agency, and all acts alleged to have been committed by Defendant Choi in

  the ensuring that the dental policy was implemented was committed on behalf of

  Defendant Washington.

                                       JURISDICTION

        16.     This action arises under the United States Constitution and 42 U.S.C..

  1983. Jurisdiction is proper in this court pursuant to 28 U.S.C. 1331 and

  1343(a)(3).

        17.     This Court has jurisdiction over Plaintiffs’ claims for declaratory and

  injunctive relief pursuant to 28 U.S.C. 2201and 2202.

        18.     Pursuant to Fed.R.Civ.P. 23(b)(2), Plaintiffs seek class certification

  based on the method and manner that dental care is provided to those confined

  within the prison system today and in the future.

                                            VENUE

        19.     Venue is proper in this Court pursuant to 28 U.C.C. 1391(b)(1)

  because Defendant resided in the Eastern District of Michigan; venue is also

  peroper pursuant to 28 U.S.C. 1391(b)(2) because a substantial part of the events

  or omissions giving rise to Plaintiffs’ claims occurred in the Eastern District of

  Michigan.



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                                FACTUAL ALLEGATIONS

        20.    Defendant Washington is the Director of MDOC and is responsible

  for ensuring that all prisoners receive dental care that does not subject the

  Plaintiffs, or the proposed class members, to pain in violation of the Eighth

  Amendment.

        21.    Defendant Washington is responsible for operation of all prison dental

  facilities, which current house approximately 39,000 prisoners. One of the

  missions of the MDOC is to provide dental care on a professional manner like

  dental care provided in the communities.

        22.    Defendant Choi presently is the Chief Dental Officer for the entire

  MDOC and is responsible for ensuring that the MDOC’s Dental Protocol and

  Policy Directive 04.06.150 are implemented.

        23.    There are approximately 8,000 prisoners who entered and/or are

  returned to prison as parole violators each year that are subjected to the 24-months

  wait, which prevents and prohibits routine dental care even if the request is for

  treatment of painful conditions. Routine dental care (per MDOC Policy Directive

  04.06.150 [R.124-8]) includes all dental care (excluding urgent and emergent

  dental care), such as cleaning, examinations and treatment plans, periodontal

  screening and treatment, fillings, and dentures.




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        24.    Any prisoners that has a dental issue involving pain during this 24-

  months wait will be refused dental care, such as filling of a cavity, and will be

  required to wait for the completion of a 24-months imprisonment or will be offered

  extraction of the tooth even if that tooth is savagable.

        25.    Plaintiffs and the Class members were denied routine dental care

  based on the single fact that they had not completed the 24-months imprisonment

  mandated by Policy Directive 04.06.150.

        26.    Prior to October 2013, MDOC did not restrict the types of dental care

  provided to prisoners who entered the prison system. There existed no restrictions

  that those who had not been imprisoned for less than 24-months could not receive

  routine dental care. The only restriction, if it could be called a restriction, was that

  MDOC did not employ sufficient medical staff that a wait list of approximately

  8,000 prisoners had developed.

        27.    In 2013, MDOC decided to restrict, or one could say narrow, the type

  of dental care that would be provided during the first 24-months of imprisonment.

  According to the new policy directive, for the first 24-months of imprisonment that

  prisoners could not receive care if it involved the providing of routine dental care.

  The policy said that care would only be provided to those with urgent needs. Based

  on this new policy, within months, this huge wait list of approximately 8,000

  prisoners was reduced to around 2,000 prisoners.



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        28.    As part of the implementation of the new policy directive, Defendant

  and her agents did not define routine dental care during the first 24-months to

  include dental care to alleviate pain and to take steps to ensure that salvageable

  teeth were restored and/or preserved.

        29.    Defendant Washington has created a policy that prisoners within the

  first 24-months of their imprisonment that have dental pain that require routine

  care to eliminate the pain will not receive dental services to fix or restore or

  eliminate the pain for those teeth, but are denied routine care to fix the teeth to

  ensure that they are useable, instead they are told to either agree to extraction of

  the teeth with pain, or continue to suffer pain during the remaining months of first

  24-months of imprisonment.

        30.    Defendants have established a practice that during intake there is a

  failure to provide periodontal screening and diagnosis and proper diagnostic x-

  rays, which if done in compliance with national dental standards, could prevent the

  periodontal disease going from “mild” or “average” to “moderate” and to

  “advanced” or “serious”, which could result in the inability to correct or control the

  periodontal disease, as well as to prevent tooth loss.

        31.    The periodontal classification made at the intake examination is

  inadequate and understates the amount and severity of prisoners’ periodontal

  diseases because Panoramic x-rays that are used are not an acceptable diagnostic



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  tool for identifying and classifying periodontal disease. Moreover, since

  periodontal probing (an accepted professional standard) is not documented, the

  severity and location of periodontal disease is inadequately characterized.

        32.    The named Plaintiffs and the proposed class members are subjected to

  needless pain based on the first 24-months of imprisonment; the practice of

  classifying all dental procedures to eliminate pain as routine care during this 24-

  months wait; implementation of a policy of extraction for emergent dental issues

  during this 24-months wait, which forces the prisoners to choose between

  continuing pain or teeth extraction. The policy further forces an inmate to request

  either extraction of a healthy tooth that was restorable or wait with pain and hope

  the tooth remains restorable after the 24-months. Thus, such a 24-months wait

  leads to restorable teeth becoming unrestorable and thus, unnecessary loss of

  healthy teeth. At the end of the 24-months wait, prisoners are then placed on wait-

  lists that can result in not receiving dental care for 6-18 months before ever being

  seen for their routine dental needs. Plaintiffs and the proposed class members are

  bringing a facial challenge to the policy directive implemented in October of 2013.

        33.    Due to the untimely care because no dental plan is made at intake and

  the 24-months wait imprisonment, a fractured tooth left untreated allows decay to

  enter the tooth and such decay may progress increasing tooth morbidity because

  the progressing untreated decay will cause a tooth once restorable to become



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  unrestorable, thereby forcing extraction and confirming the defendant’s policy of

  favoring extraction over tooth restoration to save teeth. Such a policy violates the

  Eighth Amendment as the policy causes unnecessary pain and unnecessary tooth

  loss thereby destroying the dentition.

        34.    Defendants have a practice that once prisoners have completed the

  first 24-months of imprisonment, they can submit a dental kite to receive a dental

  cleaning and to determine what dental care is needed for routine dental issues that

  have been denied up to the last 24-months; the requesting prisoner is placed on a

  waiting list for “dental cleaning”, which can then take 6-12 months to receive the

  cleaning. At the cleaning, the prisoner will then see the dentist who will create a

  treatment plan, i.e, fillings, which then results in the prisoner placement on another

  wait list for fillings, and can be on that wait list for 4-12 months.

        35.    Once prisoners have completed the first 24-months of imprisonment,

  they can then wait up to 6-18 months to receive actual dental care. Due to the long

  wait lists these prisoners are deprived of timely dental care leading to unnecessary

  tooth pain, preventable progression of decay and/or tooth loss.

        36.    Defendants have created a policy and/or practice that during the first

  24-months of their imprisonment, prisoners who are in need of dentures due to loss

  of teeth or unrestorable teeth can have these unrestorable teeth pulled, but cannot

  receive dentures even though those prisoners are not able to chew hard and chewy



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  foods; the same policy does not allow old dentures that are broken or damaged,

  dentures lost by prison staff, and/or failure to provide dentures pursuant to

  extenuating circumstances such as being assaulted by another inmate with a lock-

  n-sock causing a broken jaw and loss of teeth, to be replaced during the first 24-

  months of imprisonment. As a result of this policy and/or practice, Washington

  and Choi have failed to provide timely dentures, which failure adversely impacted

  Plaintiffs and the untimely dentures Class ability to masticate food, achieve proper

  nutrition, and be free from pain.

        37.    Washington and Choi have failed to provide sufficient and/or timely

  dental care, such as dentists or other dental staff, which failure adversely impacted

  Plaintiffs and the four proposed Classes’s ability to masticate food, achieve proper

  nutrition, and be free from pain and/or includes untimely treatment of tooth pain

  and decay permitting the decay to worsen to the point o requiring extraction or loss

  of teeth unnecessarily which could have been prevented by timely care.

                               CLASS ACTION ALLEGATIONS

  A.    24-months No Routine Dental Care – Class 1

        38.    Pursuant   to    Federal   Rules   of   Civil   Procedure   23(a)   and

  23(b), Plaintiffs BAILEY, BROWNES, FLESSNER, GUNNELS, MEANS,

  REEVES, ROMAN, and SLONE bring this action on behalf of themselves and a

  class of all persons who are now, or will in the future be, subjected to the dental



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  care policies and practices of Defendant Washington. Washington is aware that the

  policy of denying MDOC prisoners routine care during their first 24 months of

  incarceration has no clinical basis and exposes them to a substantial risk of serious

  harm, including exposure to unnecessary tooth pain, decay, and unnecessary loss

  of teeth; yet she chooses not to alter the policy.

              (1) Fed.R.Civ.P. 23(a(1); Impracticability of Joinder

        39.      The 24 months no routine dental care (quarantine) Class is so

  numerous that joinder of all class members is impracticable. There are

  approximately 16,000 prisoners confined with the MODC who have entered the

  prison system within the last 24 months. Every 12 months there are approximately

  8,000 new potential class members: prisoners who are newly admitted to the

  MDOC or parole violators sentenced / returned to serve more time.

        40.      At the end of the 24 months imprisonment, thousands of prisoners

  become eligible to receive routine dental care; however, they must then request a

  dental cleaning and/or dental exam, which results in their being placed on a

  waiting list for that cleaning and/or dental exam. Based on the dental treatment

  plans created for each prisoner, they are then placed on other wait lists for

  treatment. Such wait lists are long due to insufficient staffing. Due to the long wait

  lists, these prisoners are deprived of timely dental care leading to unnecessary




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  tooth pain, preventable progression of decay and/or tooth loss. The practical effect

  of these delays is to make the quarantine substantially longer than 24 months.

        41.      These prisoners who are subjected to 24-months denial of routine

  dental care are identifiable using records maintained in the ordinary course of

  business by the MDOC. All prisoners who are incarcerated less than 24 months are

  class members.

              (2) Fed.R.Civ.P. 23(a)(2): Commonality

        42.      There are questions of law and facts common to those prisoners who

  are defined as class members who have been imprisoned with the MDOC less than

  24 months.

              a. Whether Washington’s failed to maintain, supervise and operate a
              dental system that provides minimally adequate dental care, which did
              not pose a substantial risk of serious harm to those confined for less than
              24-months and needing routine care.

              b. Whether Washington was deliberately indifferent to the serious dental
              needs of class members, and to the risk posed by the failure to use
              sufficient x-rays to diagnose caries and bone loss and document
              periodontal probing to screen for and diagnose periodontal disease, and
              to prepare a treatment plan and provide treatment for the conditions
              identified within the first 24 months of imprisonment.

        43.      Because the intake exam is incomplete and below accepted

  professional standards, all prisoners are subject to the risk of serious harm from




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  lack of untimely diagnosis of dental disease and creation of appropriate treatment

  plans.

           44.   Failure to provide periodontal screening and diagnosis (i.e., the PSR)

  and proper diagnostic x-rays at intake can result in the periodontal disease going

  from “mild” or “average” to “moderate” and to “advanced” or “serious”, which can

  result in the inability to correct or control the periodontal disease, as well as

  preventable tooth loss.

           45.   The periodontal classification made at the intake examination is

  inadequate and understates the amount and severity of a prisoner’s periodontal

  disease because the Panoramic x-ray that is used is not an acceptable diagnostic

  tool for identifying and classifying periodontal disease. Moreover, since

  periodontal probing (an accepted professional standard) is not documented, the

  severity and location of periodontal disease is inadequately characterized.

           46.   Routine oral examinations (Service Codes 00120 and 00150), while

  using bite-wing x-rays, fail to document periodontal probing (an accepted

  professional standard) and thus periodontal disease is under diagnosed.

  Consequently, the resulting treatment plans for addressing periodontal disease are

  inadequate.

           47.   Even when moderate or advanced periodontal disease is identified,

  appropriate non-surgical treatment (i.e., scaling and root planing – which MDOC



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  calls “perio scale” (Service Codes 0433, 0434, and 0439)) is not scheduled,

  planned, or is untimely performed.

           48.      These individuals who are subjected to inadequate periodontal

  screening and inadequate x-rays are identifiable using records maintained in the

  ordinary course of business by MDOC.

           49.      Washington is expected to raise common defenses to these claims,

  including denying that her actions violated the law.

                 (3) Fed.R.Civ.P. 23(a)(3): Typicality

           50.      The claims of the 24-month denial of routine care Plaintiffs are typical

  of those of the 24-month denial of routine care Class, as their claims arise from the

  same policies, practice, and course of conduct, and their claims are based on the

  same theory of law as the Class claims.

     51.         (4) Fed.R.Civ.P. 23(a)(4): Adequacy of Representation

           52.      Each of the 24 months no routine care Class Plaintiffs will fairly and

  adequately represent the interests of the 24 months no routine care Class and will

  diligently serve as class representatives. Their interests are co-extensive with those

  of the 24 months no routine care Class, and they are represented by counsel

  experienced in class litigation and in litigation involving the rights of prisoners.

  Putative Class Counsel possesses the experience and resources necessary to fairly

  and adequately represent the Class.



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               (5) Fed.R.Civ.P. 23(b)

         53.      This action is maintainable as a class action pursuant to Fed.R.Civ.P.

  23(b)(1) because the number of class members is approximately 16,000, and the

  prosecution of separate actions by individuals would create a risk of inconsistent

  and varying adjudications, which in turn would establish incompatible standards of

  conduct for Defendants. Additionally, the prosecution of separate actions by

  individuals could result in adjudications with response to individual class members

  that, as a practical matter, would substantially impair the ability of other members

  to protect their interests.

         54.      This action is also maintainable as a class action pursuant to

  Fed.R.Civ.P. 23(b)(2) because Washington’s policies, practices, actions, and

  omissions that form the basis of the claims of the 24 months no routine care Class

  are common to and apply generally to all members of the class. The 24-months no

  routine care’s policy and practices are centrally promulgated, disseminated, and

  enforced from the headquarters of Defendants Washington and Choi. The

  injunctive and declaratory relief sought is appropriate and will apply as a whole to

  all members of the 24 months no routine care class.



  B.     Periodontal Evaluation and Treatment – Class II




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        55.    Washington and Choi are aware that the MDOC has a practice of not

  providing appropriate periodontal diagnosis and treatment and both Washington

  and Choi are aware that this practice exposes prisoners to a substantial risk of

  serious harm, yet they choose not to alter the practice.

        56.    Pursuant     to   Fed.R.Civ.P.    23(a)   and   23(b),   PLAINTIFFS

  BROWNES, FLESSNER, RICHARDSON, REEVES, ROMAN, and SLONE

  bring this action on behalf of themselves and all other persons who are now, or will

  in the future be diagnosed with periodontal disease and not be provided appropriate

  treatment.

               (1)      Fed.R.Civ.P. 23(a)(1); Impracticability of Joinder

        57.    The Dental Class is so numerous that joinder of all class members is

  impracticable. Presently there are approximately 39,000 prisoners imprisoned with

  the MDOC.

        58.    Failure to provide periodontal treatment can result in the periodontal

  disease going from “mild” or “average” to “serious, which can result in the

  inability to correct or control the periodontal disease. MDOC has a practice of not

  prescribing and performing appropriate periodontal treatment, such as root planing

  and scaling, even when periodontal disease is diagnosed, prisoners are subject to

  risk of preventable progression of periodontal disease, with attendant loss to teeth

  and gratuitous pain



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        59.      These individuals who are subjected to no periodontal treatment are

  identifiable using records maintained in the ordinary course of business by MDOC.

                 (2)   Fed.R.Civ.P. 23(a)(2): Commonality

        60.      There are questions of law and facts common to those prisoners who

  are defined as members who have not been provided with periodontal treatment.

              a. Whether Defendants failed to operate a dental system that provided
                 minimally adequate dental care, which did not pose a substantial risk
                 of serious harm by failing to provide periodontal treatment.

              b. Whether Defendants were deliberately indifferent to the serious dental
                 needs of class members, and to the risk posed by the failure to provide
                 periodontal treatment.

        61.      Washington and Choi are expected to raise common defenses to these

  claims, including denying that their actions violated the law.

                 (3)   Fed.R.Civ.P. 23(a)(3): Typicality

        62.      The claims of those not provided periodontal treatment Plaintiffs are

  typical of those not provided periodontal treatment, as their claims arise from the

  same policy, practice, and course of conduct, and their claims are based on the

  same theory of law as the Class claims.

                 (4)   Fed.R.Civ.P. 23(a)(4): Adequacy of Representation

        63.      Each of the periodontal treatment Class Plaintiffs will fairly and

  adequately represent the interests of the periodontal treatment Class and will

  diligently serve as a class representative. Their interests are co-extensive with



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  those of the periodontal treatment Class, and they are represented by counsel

  experienced in class litigation and in litigation involving the rights of prisoners.

  Putative Class Counsel possesses the experience and resources necessary to fairly

  and adequately represent the Class.

                (5)    Fed.R.Civ.P. 23(b)

         64.    This action is maintainable as a class action pursuant to Fed.R.Civ.P.

  23(b)(1) because the number of class members is approximately 39,000 and the

  prosecution of separate actions by individuals would create a risk of inconsistent

  and varying adjudications, which in turn would establish incompatible standards of

  conduct for Defendant. Additionally, the prosecution of separate actions by

  individuals could result in adjudications with response to individual class members

  that, as a practical matter, would substantially impair the ability of other members

  to protect their interests.

         65.    This action is also maintainable as a class action pursuant to

  Fed.R.Civ.P. 23(b)(2) because Washington’s policy, practice, action, and omission

  that are implemented and enforced by Defendant Choi form the basis of the claims

  of the periodontal treatment Class that are common to and apply generally to all

  members of the class. The periodontal treatment’s policy and practice are centrally

  promulgated, disseminated, and enforced from the headquarters of Defendants




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  Washington and Choi. The injunctive and declaratory relief sought is appropriate

  and will apply as a whole to all members of the 24-months class.



  C.    Dentures – Class III

        66.      Washington and Choi are aware that MDOC has a practice of not

  timely providing dentures to prisoners who have unserviceable dentures or have

  pain and difficulty when eating, and both Defendants Washington and Choi are

  aware that this practice exposes prisoners to a substantial risk of serious harm,

  including loss of occlusion, inability to eat hard foods and/or chew hard foods; yet

  they choose not to alter the unconstitutional practice.

        67.      Pursuant   to   Fed.R.Civ.P.    23(a)      and   23(b),   PLAINTIFFS

  DEARDUFF, BAILEY, GUNNELS, MEANS, PORTER, and STOLL bring

  this action on behalf of themselves and all other persons who are now, or will in

  the future will need dentures and are not timely provided.

              (1) Fed.R.Civ.P. 23(a)(1); Impracticability of Joinder

        68.      The Dental Class is so numerous that joinder of all class members is

  impracticable. Presently there are approximately 39,000 prisoners imprisoned with

  MDOC.

        69.      Plaintiffs have requested dentures due to loss of teeth, inability to

  chew hard and chewy foods, old dentures being broken or damaged, dentures lost



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  by prison staff, and failure to provide dentures pursuant to extenuating

  circumstances such as being assaulted by another inmate with a lock-n-sock

  causing a broken jaw and loss of teeth.

        70.      Washington and Choi have failed to provide timely dentures, which

  failure adversely impacted Plaintiffs and the untimely dentures Class ability to

  masticate food, achieve proper nutrition, and be free from pain.

        71.      These individuals who are subjected to untimely dentures are

  identifiable using records maintained in the ordinary course of business by MDOC.

                 (2)   Fed.R.Civ.P. 23(a)(2): Commonality

        72.      There are questions of law and facts common to those prisoners who

  are defined as members who have not been provided with timely dentures.

              a. Whether Defendants failed to operate a dental system that provided
                 minimally adequate dental care, which did not pose a substantial risk
                 of serious harm by failing to provide timely dentures.

              b. Whether Defendants were deliberately indifferent to the serious dental
                 needs of class members, and to the risk posed by the failure to provide
                 timely dentures.

        73.      Washington and Choi are expected to raise common defenses to these

  claims, including denying that their actions violated the law.

                 (3)   Fed.R.Civ.P. 23(a)(3): Typicality

        74.      The claims of those not provided timely dentures Plaintiffs are typical

  of those not provided timely dentures Class members, as their claims arise from the



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  same policy, practice, and course of conduct, and their claims are based on the

  same theory of law as the Class claims.

                (4)    Fed.R.Civ.P. 23(a)(4): Adequacy of Representation

         75.    Each of the timely dentures Class Plaintiffs will fairly and adequately

  represent the interests of the timely dentures Class and will diligently serve as a

  class representative. Their interests are co-extensive with those of the timely

  dentures Class, and they are represented by counsel experienced in class litigation

  and in litigation involving the rights of prisoners. Putative Class Counsel

  possessess the experience and resources necessary to fairly and adequately

  represent the Class.

                (5)    Fed.R.Civ.P. 23(b)

         76.    This action is maintainable as a class action pursuant to Fed.R.Civ.P.

  23(b)(1) because the number of class members is approximately 1,000 and the

  prosecution of separate actions by individuals would create a risk of inconsistent

  and varying adjudications, which in turn would establish incompatible standards of

  conduct for Defendants. Additionally, the prosecution of separate actions by

  individuals could result in adjudications with response to individual class members

  that, as a practical matter, would substantially impair the ability of other members

  to protect their interests.




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        77.    This action is also maintainable as a class action pursuant to

  Fed.R.Civ.P. 23(b)(2) because Washington’s policy, practice, action, and omission

  that are implemented and enforced by Defendant Choi form the basis of the claims

  of the timely dentures Class that are common to and apply generally to all

  members of the Class. The timely denture’s policy and practice are centrally

  promulgated, disseminated, and enforced from the headquarters of Defendants

  Washington and Choi. The injunctive and declaratory relief sought is appropriate

  and will apply as a whole to all members of the 24-months class.



  D.    Waiting List – Class IV

        78.    Washington and Choi are aware that the MDOC has a practice of

  placing prisoners who have been incarcerated for more than 24 months and who

  complain of dental/tooth pain, inability to chew or eat hard foods due to lack of

  teeth or tooth pain, inability to sleep, bleeding gums or seek routine dental care,

  such as teeth cleanings nor seeking fillings for cavities, on long wait lists for this

  dental care, Washington and Choi are aware that this practice exposes prisoners to

  a substantial risk of serious harm, yet Washington and Choi chooses not to alter the

  practice.

        79.    Pursuant    to   Fed.R.Civ.P.    23(a)   and    23(b),   PLAINTIFFS

  DEARDUFF and BROWNELL bring this action on behalf of themselves and all



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  other persons who are now, or will in the future need dentures and are not timely

  provided.

              (1) Fed.R.Civ.P. 23(a)(1); Impracticability of Joinder

        80.      The Dental Class is so numerous that joinder of all class members is

  impracticable. Presently there are approximately 23,000 prisoners imprisoned with

  MDOC who have served more than 24 months.

        81.      At the end of the 24 months thousands of prisoners become eligible to

  receive routine dental care, except that those prisoners must then request a dental

  cleaning and/or dental exam, which results in their being placed on a waiting list

  for that cleaning and/or dental exam. Based on the dental treatment plans created

  for each prisoner at these cleanings, the prisoners are then placed on other wait lists

  for treatment. Such wait lists are long due to insufficient staffing. Due to the long

  wait lists, these prisoners are deprived of timely dental care leading to unnecessary

  tooth pain, unnecessary progression of decay and/or unnecessary tooth lost.

        82.      Plaintiffs have requested dental care after meeting the 24-month

  requirement of imprisonment, and have initially been placed on a wait list for

  dental cleaning and/or evaluation by the dentist to create a dental plan, which can

  take up to sex-months or longer. Where the dental plan includes any type of dental

  care, such as fillings, teeth cleaning or dentures, prisoners are then placed on that




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  specific wait list, which then takes another six or more months of waiting for such

  dental care.

        83.      Washington and Choi have failed to provide sufficient and/or timely

  dental care, such as dentists or other dental staff, which failure adversely impacted

  Plaintiffs and the wait lists Class’s ability to masticate food, achieve proper

  nutrition, and be free from pain and/or includes untimely treatment of tooth pain

  and decay permitting the decay to worsen to the point o requiring extraction or loss

  of teeth unnecessarily which could have been prevented by timely care.

        84.      These individuals who are subjected to placements on these wait lists

  are identifiable using records maintained in the ordinary course of business by the

  MDOC.

                 (2)   Fed.R.Civ.P. 23(a)(2): Commonality

        85.      There are questions of law and facts common to those prisoners who

  are defined as members who have been placed on dental wait lists.

              a. Whether Defendants failed to operate a dental system that provided
                 minimally adequate dental care, which did not pose a substantial risk
                 of serious harm by failing to provide sufficient dentists and other
                 support staff.

              b. Whether Defendants were deliberately indifferent to the serious dental
                 needs of Plaintiffs and class members by the placement of prisoners
                 on long wait lists subjecting them to untimely dental care resulting in
                 unnecessary tooth loss, loss of tooth structure of the hard and soft
                 tissues and/or tooth pain.




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        86.    Washington and Choi are expected to raise common defenses to these

  claims, including denying that their actions violated the law.

               (3)   Fed.R.Civ.P. 23(a)(3): Typicality

        87.    The claims of those placed on long wait lists Plaintiffs are typical of

  those placed on long wait list, as their claims arise from the same policy, practice,

  and course of conduct, and their claims are based on the same theory of law as the

  Class claims.

               (4)   Fed.R.Civ.P. 23(a)(4): Adequacy of Representation

        88.    Each of the wait lists Class Plaintiffs will fairly and adequately

  represent the interests of the wait lists Class and will diligently serve as a class

  representative. Their interests are co-extensive with those of the wait lists Class,

  and they are represented by counsel experienced in class litigation and in litigation

  involving the rights of prisoners. Putative Class Counsel possesses the experience

  and resources necessary to fairly and adequately represent the Class.

               (5)   Fed.R.Civ.P. 23(b)

        89.    This action is maintainable as a class action pursuant to Fed.R.Civ.P.

  23(b)(1) because the number of class members is approximately 23,000 and the

  prosecution of separate actions by individuals would create a risk of inconsistent

  and varying adjudications, which in turn would establish incompatible standards of

  conduct for Defendants. Additionally, the prosecution of separate actions by



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  individuals could result in adjudications with response to individual class members

  that, as a practical matter, would substantially impair the ability of other members

  to protect their interests.

         90.    This action is also maintainable as a class action pursuant to

  Fed.R.Civ.P. 23(b)(2) because Washington’s policy, practice, action, and omission

  that are implemented and enforced by Defendant Choi form the basis of the claims

  of the wait lists Class that are common to and apply generally to all members of

  the Class. The wait lists’ policy and practice are centrally promulgated,

  disseminated, and enforced from the headquarters of Defendants Washington and

  Choi. The injunctive and declaratory relief sought is appropriate and will apply as

  a whole to all members of the 24-months class.

                        EIGHTH AMENDMENT VIOLATION

         91.    Plaintiffs allege and incorporate by reference all prior paragraphs.

         92.    Dental health needs are serious medical necessities, because dental

  care is one of the most important needs of inmates to preserve and maintain

  general health, including the ability to eat and chew foods, and the ability to

  engage in a normal activity of eating, necessary for maintaining nutritional health,

  physical-health, and dental health. Normal eating and chewing are a basic bodily

  function to sustain life, and deprivation of the ability to eat and chew constitutes

  cruel and unusual punishment.



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        93.    Deliberate indifference to serious dental needs is evidenced by

  systemic deficiencies in dental care policies and practices in Michigan prisons that

  have produced longstanding instances of inadequate care. The MDOC’s policies

  and practices “as-applied” to those not subjected to the 24-months wait constitute

  cruel and unusual punishment, thereby violating the Eighth Amendment of the

  United States Constitution when these serious dental needs of the Plaintiffs and

  proposed class members were/are not met.

        94.    Defendants have created and engaged in systemic deficiencies in the

  delaying and denying needed dental care to the Plaintiffs and proposed class

  members, such that Defendants have demonstrated deliberate indifference to

  serious dental needs.

        95.    The named Plaintiffs and the proposed class members are subjected to

  needless pain based on the 24-months wait; the practice of classifying all dental

  procedures to eliminate pain as routine care during the 24-months wait;

  implementation of a policy of extraction for emergent dental issues during the 24-

  months wait, which forces the prisoners to choose between continuing pain or

  having their teeth extracted. The policy further forces an inmate to either request

  extraction of a healthy tooth that was restorable or wait with pain and hope the

  tooth remains restorable after the 24-months. Thus, such a 24-months wait leads to

  restorable teeth becoming unrestorable and thus, unnecessary loss of healthy tooth.



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  At the end of the 24-months wait, prisoners are then placed on wait-lists that can

  result not receiving dental care for 6-months to over a year before even being seen

  for their emergent dental needs. Plaintiffs and the proposed class members are

  bringing a facial challenge to the policy directive implemented in October of 2013.

        96.   The implementation of the October 2013 policy directive on its face

  constitute cruel and unusual punishment, thereby violating the Eighth Amendment

  of the United States Constitution when these serious dental needs of the Plaintiffs,

  and proposed class members were/are not met during the first 24-months of

  imprisonment.

        97.   Further, those prisoners who entered the system in need of dentures

  are denied such during this 24-months wait even though they are/may suffer pain

  and cannot properly chew food. Moreover, at the end of these 24-months wait

  these prisoners are then placed on new wait lists that can result in waiting for 6-

  months to over a year before even being seen for an evaluation of the need for

  dentures. These prisoners then may wait years before they are provided dentures.

        98.   The named Plaintiffs and proposed class members are being subjected

  to needless pain and/or risk of unnecessary tooth loss based on Defendant’s policy

  of not providing scaling and root planing for those prisoners diagnosed with early

  to moderate to advanced periodontal disease. Failure to accurately diagnose (no

  probing or x-rays at the intake examination), failure to establish a treatment plan



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  that includes scaling and root planing for prisoners with moderate to advanced

  periodontal disease, and the 24-months wait policy that delays even a prophy,

  combines to create a dental system where prisoners are placed at risk of harm, such

  as loss of tooth support (bone), loss of teeth, and pain (from periodontal abscesses).

  Further, after the expiration of the 24-months wait, prisoners are subjected to long

  new wait lists before any treatment is provided leading to further decay and/or

  tooth loss and progression of periodontal disease. Defendant Washington’s policy

  does not properly or adequately diagnose periodontal disease by failing to

  periodontally probe and measure pocket depths and chart such results and/or take

  proper diagnostic x-rays and/or Defendant’s policy does not treat adequately

  periodontal disease even when it is identified.

                                         Relief

  WHEREFORE, for the reasons stated above, this Court should:

  A.    Accept jurisdiction of this matter;

  B.    Certify this matter as a class action as to the four proposed classes;

  C.    Declare that the rights of Plaintiffs and class members were violated by the

  actions of the Defendants;

  D.    Find that the actions of the Defendants, as to the provision of dental care,

  subjected the Plaintiffs and the class members to a violation of their Eighth

  Amendment rights against cruel and unusual punishment;



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  E.     Issue an injunction against the Defendants to:

       1. Require   Defendant     Washington     to   hire   sufficient   dental   and

         clerical/administrative staff to ensure requirements of the Eighth

         Amendment are met to provide timely dental care and treatment, including

         timely treatment of tooth decay by timely diagnosis and restorative dental

         care and treatment, and accurate diagnosis of periodontal disease and to

         provide timely diagnosis and proper non-surgical periodontal treatment.

       2. Require Defendant Washington to alter and amend policy to mandate a

         complete dental intake/initial examination to include a comprehensive

         treatment plan, diagnostic x-rays and require periodontal screening and

         recording (PSR) at a minimum, i.e., probe, measure and chart

         periodontal pocket depths to screen for periodontal disease; amend

         policy to reflect proper American Dental Association (ADA) periodontal

         disease staging based on periodontal pocket depths representing the

         current standard of dental care in screening for periodontal disease; and

         ensure Defendant’s policy include timely appropriate non-surgical

         treatment for periodontal disease.

       3. Eliminate the 24-months quarantine period in which prisoners are

         denied routine dental care and treatment during the first 24-months of

         confinement, routine dental care to include timely treatment for


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         restorable dental caries, timely non-surgical periodontal treatment, and

         timely delivery of complete and partial dentures.

    4.   Require Defendant Washington to provide timely routine dental

         treatment for those who have served more than two years by hiring

         sufficient dental staff to provide timely dental care and reduce wait list

         dental care requests to a reasonable time to prevent needless physical

         pain and suffering, tooth pain, tooth sensitivity and unnecessary tooth

         loss irrespective of the two-year quarantine.

    5. Eliminate the denture policy prohibition that a prisoner who received

         denture(s)/partial(s) must wait five years before replacement or repair

         of denture(s)/partial(s) where the denture/partial fractures, breaks or

         requires a repair to ensure the denture/partial serves its purposes.

    6. Require timely denture/partial delivery to be completed within three

         months after the first impressions are taken, including delivery of

         denture/partial for the first time and replacements.

    7. Require timely denture/partial delivery to be completed within three months

         after the first impressions are taken, including delivery of denture/partial for

         the first time and replacements.

    8. Require Defendants to implement policies to mandate and enforce

         restoration of restorable teeth versus a policy favoring extraction of


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          restorable teeth to prevent needless tooth loss and properly document steps

          taken to determine whether restoration or extraction was needed based on

          tooth health, which includes proper diagnostic x-ray(s), exam and PSR.

       9. Provide soft food diet for inmates that are unable to masticate food due to

          tooth loss/extraction while waiting for dentures to be fabricated.

       10. Modify the Urgent Care definition to include all complaints of dental pain.

  F.      To award attorneys’ fees and costs; and

  G.      To grant any other relief that is just and equitable.

  Respectfully submitted,


  /s/ Daniel E. Manville
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  Co-Counsel for Plaintiff
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                                    Certificate of Service

  I, Daniel E. Manville certify that on January 14, 2018, I filed the above document
  with the ECF system, which then sent it to Defendants’ counsel.

                                     /s Daniel E. Manville




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